         Case 1:22-cv-00717-YK-SM Document 7 Filed 06/24/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHRIS W. PAIGE, JR.,                         :
     Petitioner                              :
                                             :              No. 1:22-cv-00717
               v.                            :
                                             :              (Judge Kane)
J.L. JAMISON, WARDEN,                        :
       Respondent                            :

                                         ORDER

       AND NOW, on this 24th day of June 2022, upon consideration of the petition for a writ

of habeas corpus filed pursuant to 28 U.S.C. § 2241 (Doc. No. 1), and for the reasons that are set

forth in the accompanying Memorandum, IT IS ORDERED THAT:

       1.      The petition (Doc. No. 1) is DISMISSED WITHOUT PREJUDICE for lack of
               jurisdiction; and

       2.      The Clerk of Court is directed to CLOSE this case.


                                                     s/ Yvette Kane
                                                     Yvette Kane, District Judge
                                                     United States District Court
                                                     Middle District of Pennsylvania
